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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                              MIDLAND-ODESSA DIVISION

Malikie Innovations Ltd. and                  §
Key Patent Innovations Ltd.,                  §
                                              §
                   Plaintiffs,                §
       v.                                     §       CIVIL ACTION NO. 7:25-cv-00222
                                              §
MARA Holdings, Inc. (f/k/a Marathon           §       JURY TRIAL DEMANDED
Digital Holdings, Inc.)                       §
                                              §
                   Defendant.                 §


            COMPLAINT FOR PATENT INFRINGEMENT AND JURY DEMAND

       Plaintiffs Malikie Innovations Ltd. (“Malikie”) and Key Patent Innovations Ltd. (“KPI”)

(collectively, “Plaintiffs”), by and through their undersigned counsel, bring this Complaint for

patent infringement and damages against Defendant MARA Holdings, Inc. (f/k/a Marathon Digital

Holdings, Inc.) (“MARA” or “Defendant”) and, in support, allege the following:

                                             PARTIES

       1.      Plaintiff Malikie is the successor-in-interest to a substantial patent portfolio created

and procured over many years by Blackberry Ltd., formerly known as Research in Motion Ltd.,

and its predecessor, subsidiary, and affiliated companies (collectively, “Blackberry”). Malikie is

an Irish entity duly organized and existing under the laws of Ireland. Malikie has registered offices

at: The Glasshouses GH2, 92 Georges Street Lower, Dun Laoghaire, Dublin A96 VR66, Ireland.

       2.      Plaintiff KPI is the beneficiary of a trust pursuant to which Malikie owns, holds,

and asserts the Asserted Patents (set forth below). KPI is an Irish entity duly organized and existing

under the laws of Ireland. KPI has registered offices at: The Glasshouses GH2, 92 Georges Street

Lower, Dun Laoghaire, Dublin A96 VR66, Ireland.
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       3.      On information and belief, Defendant MARA Holdings, Inc. (“MARA”), formerly

known as Marathon Digital Holdings, Inc., is a Nevada corporation, with a principal place of

business at: 101 NE Third Avenue, Suite 1200, Fort Lauderdale, FL. On information and belief,

MARA maintains operational facilities in Texas, including in this District, and in other states. On

information and belief, MARA owns and operates the website located at www.mara.com.1

                                  NATURE OF THE ACTION

       4.      This is a civil action for patent infringement under the patent laws of the United

States, 35 U.S.C. § 1 et seq.

       5.      This case centers on ground-breaking innovations in elliptic curve cryptography

that were discovered by some of the field’s leading technologists at Certicom Corporation and

Blackberry Limited (formerly known as Research In Motion, or “RIM”), that years later were

recognized and selected by the designers of Bitcoin2— far and away the world’s most valuable

cryptocurrency—to enable Bitcoin’s characteristic quality as a “trustless” payment system

requiring no third party intermediary. Specifically, the Bitcoin protocol incorporates cryptographic

technology developed and patented by Certicom and Blackberry—technology covered by the

Asserted Patents. Defendant, in turn, uses this patented technology to operate one of the largest

bitcoin mining operations in the world, manage its proceeds, and engage in bitcoin transactions.

       6.      Malikie is the assignee of and owns all right and title to U.S. Patent Nos. 8,788,827

(the “’827 Patent”); 10,284,370 (the “’370 Patent”); 8,666,062 (the ’062 Patent”); 7,372,960 (the

“’960 patent”); 7,372,961 (the “’961 patent”); and 8,532,286 (the “’286 Patent”) (collectively, the




1
 All URLs cited in this Complaint were last visited on April 28, 2025, unless otherwise noted.
2
 As used herein, “Bitcoin” with a capital “B” refers to Bitcoin’s protocol, network, and blockchain,
whereas “bitcoin” with a lower case “b” refers to the unit of cryptocurrency.


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“Asserted Patents”), which were duly and legally issued by the United States Patent and Trademark

Office (“USPTO”). Malikie seeks monetary damages.

                            FACTS COMMON TO ALL CLAIMS

                                          Background

                                       The Rise of Bitcoin

       7.      Earlier this year, the price of a single bitcoin (1 BTC3) reached $109,000.4 While

that is an impressive figure in absolute terms, it is even more impressive considering how much

the value of bitcoin has increased over the years. When today’s leading U.S.-based cryptocurrency

exchange was founded in 2012, “a bitcoin was worth $6 and only known by a few nerds on the

internet.”5 Just two years prior to that, 1 BTC was worth less than a penny: $0.0041. On May 22,

2010, in what is widely understood to be the first commercial Bitcoin transaction, Laszlo Hanyecz

(one of Bitcoin’s earliest developers and proponents) paid 10,000 BTC—worth about $41 at the

time—for two Papa John’s pizzas.6 And only seven months before that, 1 BTC was worth just

$0.00099. In the first ever exchange of bitcoin for U.S. dollars, Marti Malmi (Bitcoin’s second

developer after Satoshi Nakamoto) sold 5,050 BTC for $5.02 on October 12, 2009.7 Following

the meteoric rise of Bitcoin, had they kept them, Hanyecz’s 10,000 BTC would have been worth

over $1 billion in January 2025 and Malmi’s 5,050 BTC would have been worth over $550 million.

No other cryptocurrency has attained such incredible value.


3
  “BTC” is a common unit used to designate one bitcoin. See https://bitcoin.org/en/vocabulary#btc.
Bitcoin can be transacted in units smaller than 1 BTC, in units of “satoshi,” which is the smallest
unit of bitcoin, equivalent to a one hundred millionth of a single bitcoin (0.00000001 BTC). See
https://en.bitcoin.it/wiki/Satoshi_(unit).
4
  https://www.coinbase.com/price/bitcoin.
5
  https://www.cnbc.com/2021/04/14/coinbase-co-founders-launched-when-a-bitcoin-btc-was-
worth-6.html (quoting Fred Ehrsam, co-founder of Coinbase).
6
  https://www.youtube.com/watch?v=tWU3O3X5kKE; https://www.coinbase.com/learn/crypto-
glossary/what-is-bitcoin-pizza.
7
  https://bitcoinmagazine.com/markets/bitcoins-first-trade-now-worth-130-million.


                                                3
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       8.      Bitcoin is regarded as the first “cryptocurrency” and “remains by far the biggest,

most influential, and best-known.”8 Other leading cryptocurrencies today include Ethereum,

Tether, and Solana, which, although they are perhaps relatively well-known among those familiar

with cryptocurrency, are worth orders of magnitude less than Bitcoin.9               Thousands of

cryptocurrencies exist today10, but, as the Ethereum website acknowledges, “[i]t all started with

bitcoin.”11

       9.      While Bitcoin is the foundation of today’s sprawling cryptocurrency market, the

foundation of Bitcoin’s trailblazing trustless digital currency model—its digital signature

framework—uses cryptographic technology developed and patented by Certicom and

Blackberry.12 Bitcoin’s adoption of this technology set a trend that has propagated throughout the

cryptocurrency landscape.

                  Bitcoin’s Foundation on Certicom-Developed Cryptography

       10.     The creation of Bitcoin is attributed to Satoshi Nakamoto (“Satoshi”), the presumed

pseudonym used by the author13 of a white paper titled “Bitcoin: A Peer-to-Peer Electronic Cash

System,” which was reportedly sent on October 31, 2008 to a small group of recipients on “The

Cryptography Mailing List” using a pipermail message service hosted by metzdowd.com.14

Satoshi’s message included a link to the white paper, which was (and still is) hosted at bitcoin.org,



8
  https://www.coinbase.com/learn/crypto-basics/what-is-cryptocurrency.
9
  See, e.g., id.; https://coinmarketcap.com/.
10
   For example, the Coinbase exchange lists hundreds of tradable crypto assets among thousands
in existence. https://www.coinbase.com/explore.
11
   https://ethereum.org/en/what-is-ethereum/ (answering “What is a cryptocurrency?”).
12
   https://bitcoin.org/bitcoin.pdf (“Bitcoin Whitepaper”) at 1, 2, 8.
13
   Satoshi Nakamoto might be one or more persons. See, e.g., https://www.metzdowd.com/
pipermail/cryptography/2008-October/014810.html (“I’ve been working on a new electronic cash
system….”); id. (“We propose a solution to the double spending problem….”).
14
   See Bitcoin Whitepaper; see also https://www.wired.com/story/after-10-years-bitcoin-changed-
everything-nothing/.


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a site “originally registered and owned by Bitcoin’s first two developers, Satoshi Nakamoto and

Martti Malmi.”15

        11.      The first line of Satoshi’s initial message to the “cryptography” community

articulated the goal of Bitcoin: to provide “a new electronic cash system that’s fully peer-to-peer,

with no trusted third party.”16       This defining characteristic of Bitcoin is achieved using

cryptography.17 Specifically, “[d]igital signatures provide part of the solution.”18 As Satoshi

explained in a February 11, 2009 message to another online community—the “p2p-research”

mailing list—“[o]ne of the fundamental building blocks for such a system [as Bitcoin] is digital

signatures.”19

        12.      A digital signature is a cryptographic tool for verifying the authenticity of digital

data (i.e., validating its original source and genuineness) and its integrity (i.e., that it is accurate,

complete, and has not been tampered with).20 In fact, a bitcoin is fundamentally just “a chain of

digital signatures” recorded in a public history or “chain” of transactions. See Bitcoin Whitepaper

at 2 (“We define an electronic coin as a chain of digital signatures. Each owner transfers the coin

to the next by digitally signing a hash of the previous transaction and the public key of the next

owner and adding these to the end of the coin.”), 8 (describing “a peer-to-peer network using proof-

of-work to record a public history of transactions”).



15
   https://bitcoin.org/en/about-us#own; https://www.metzdowd.com/pipermail/cryptography/
2008-October/014810.html.
16
   https://www.metzdowd.com/pipermail/cryptography/2008-October/014810.html; see also
Bitcoin Whitepaper (abstract).
17
   Bitcoin Whitepaper at 1 (“What is needed is an electronic payment system based on
cryptographic proof instead of trust, allowing any two willing parties to transact directly with
each other without the need for a trusted third party.”).
18
   https://www.metzdowd.com/pipermail/cryptography/2008-October/014810.html (abstract);
Bitcoin Whitepaper (abstract).
19
   https://satoshi.nakamotoinstitute.org/emails/p2p-research/35/.
20
   https://www.cisa.gov/news-events/news/understanding-digital-signatures.


                                                   5
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                                      Bitcoin Whitepaper at 2

See also https://satoshi.nakamotoinstitute.org/emails/p2p-research/35/ (“A digital coin contains

the public key of its owner. To transfer it, the owner signs the coin together with the public key of

the next owner. Anyone can check the signatures to verify the chain of ownership”). Specifically,

as Satoshi explained to the “cryptography” community shortly after releasing the white paper but

before releasing the first version of Bitcoin software, “it’s ECC digital signatures.”21

       13.     The acronym “ECC” stands for elliptic curve cryptography.22 ECC “represents a

different way to do public-key cryptography—an alternative to the older RSA system—and also

offers certain advantages.”23 “ECC devices require less storage, less power, less memory, and less

bandwidth than other systems. This allows you to implement cryptography in platforms that are

constrained, such as wireless devices, handheld computers, smart cards, and thin-clients. It also

provides a big win in situations where efficiency is important.”24 As explained by Certicom



21
   https://satoshi.nakamotoinstitute.org/emails/cryptography/14/; see also https://satoshi.
nakamotoinstitute.org/emails/cryptography/2/ (explaining that “ECC is nicely compact”).
22
   https://en.bitcoin.it/wiki/Elliptic_curve_cryptography.
23
   https://www.certicom.com/content/certicom/en/the-basics-of-ecc.html.
24
   Id.


                                                  6
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Corporation, “the authority for strong, efficient cryptography,” when asymmetric cryptography

(such as public-key cryptography) is desired “Elliptic curve cryptography (ECC) is the best choice,

because” it “will give you the most security per bit.”25 For example, “ECC offers considerably

greater security for a given key size” and enables “faster cryptographic operations, running on

smaller chips or more compact software” resulting in “less heat production and less power

consumption.”26

       14.     ECC is also secure. In 1997, Certicom introduced the “Elliptic Curve Cryptosystem

(ECC) Challenge” as a way “to increase industry understanding and appreciation for the difficulty

of the elliptic curve discrete logarithm problem, and to encourage and stimulate further research

in the security analysis of elliptic curve cryptosystems.”27 Certicom challenged participants to

compute the ECC private key from a list of ECC public keys and associated parameters.28 The

challenge included relatively easier (Level I) challenges, some of which have been solved, and

more difficult (Level II) challenges, which Certicom believed to be “computationally infeasible”

and still have not been solved.29

       15.     As mentioned above, Bitcoin uses ECC digital signatures. Specifically, Bitcoin

uses an elliptic curve digital signature algorithm (“ECDSA”) with parameters known as

“secp256k1.”30    Secp256k1 is defined in a Standards for Efficient Cryptography (SEC)

specification titled “SEC 2: Recommended Elliptic Curve Domain Parameters” (Version 2.0, Jan.




25
   https://www.certicom.com/content/dam/certicom/images/pdfs/WP-ECCprimer.pdf at 3, 22.
26
   Id. at 3.
27
   https://www.certicom.com/content/certicom/en/the-certicom-ecc-challenge.html.
28
   Id.
29
   Id.
30
   https://en.bitcoin.it/wiki/Elliptic_Curve_Digital_Signature_Algorithm; https://en.bitcoin.it/
wiki/Secp256k1.


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2010), which is a publication of the Standards for Efficient Cryptography Group (SECG).31 The

SEC 2 paper (Version 2.0) was generated by Certicom Research and identifies Dan Brown of

Certicom as the main contact.32 Dan Brown is a co-inventor of several of the Asserted Patents in

this case. See infra.

       16.     Certicom—which was “[f]ounded in 1985, the same year Elliptic Curve

Cryptography (ECC) was invented”—has a long been regarded as the leader in ECC technology.33

Indeed, Scott Vanstone, who co-founded Certicom in 1985 with Gord Agnew and Ron Mullin, was

an internationally recognized top ECC researcher and the recipient of prestigious awards and

recognitions for his monumental and profound contributions in the field of ECC.34 Vanstone

authored numerous papers and was awarded hundreds of patents related to ECC.35 To help drive

ECC’s commercial adoption, Certicom (with Vanstone) founded the SECG in 1998.36 The purpose

of the SECG is “to develop commercial standards that facilitate the adoption of efficient

cryptography and interoperability across a wide range of computing platforms.”37        “SECG

members include leading technology companies and key industry players in the information

security industry,” including its founding member, Certicom.38 Certicom’s development of a

standards body to promote ECC was welcomed by many in the cryptography industry. As the



31
   https://www.secg.org/sec2-v2.pdf at 9.
32
   Id. (cover page).
33
   https://www.certicom.com/content/certicom/en/about.html.
34
   See, e.g., https://www.certicom.com/content/certicom/en/about/news/release/2004/certicom-
founder-scott-vanstone-wins-prestigious-research-award.html; https://www.certicom.com/
content/certicom/en/about/news/release/2009/certicom-founder-wins-premiers-catalyst-award-
for-lifetime-achie.html; https://uwaterloo.ca/news/profound-impact-researcher.
35
   See id.
36
   https://www.cnet.com/tech/tech-industry/certicom-creates-standards-body/.
37
   https://www.secg.org/.
38
   Id.; see also https://www.certicom.com/content/certicom/en/about/news/release/2005/
standards-for-efficient-cryptography-group--secg--announce-new-i.html (identifying Certicom as
“a founding member of SECG”).


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chief scientist of one security firm put it in 1998, “It’s good news for the industry as a whole to

move ECC forward because it is a promising technology.”39 In 2004, a professor at Texas Tech

University (winner of the Certicom Elliptic Curve Cryptography (ECC)2-109 Challenge) said, “I

think public-key cryptography based on ECC is what we should and will be moving toward.”40

Walt Davis, former senior vice-president at Motorola, told Vanstone that he believed “ECC was

the only technology that would work in their constrained environments.”41

       17.     Demonstrating its position as the leader in developing and promoting ECC

technology, Certicom hosted the annual ECC Conference beginning in 2004, which “was designed

to interest both a technical audience and business managers.”42 Vanstone recalled that the 2004

conference “was well-attended by cryptography experts, industry leaders and members of the

developer community.”43 The conference also “held significant historical value,” with “luminaries

such as Dr. Ralph Merkle, Dr. Neal Koblitz, Dr. Victor Miller and Dr. Walt Davis” in attendance.44

Those luminaries were the pioneers of public key cryptography and ECC: Miller and Koblitz

“independently invented elliptic curve cryptography”; Merkle was one of the inventors of public

key cryptography; and Davis was a senior vice-president at Motorola who was an early advocate

for ECC and recipient of the first ECC Visionary Award.45 As a testament to Certicom’s status as

the unrivaled leader and authority in ECC research and development, industry members recognized

that “[t]he one thing holding up elliptic curve cryptography is standards,” and that “Certicom is




39
   https://www.cnet.com/tech/tech-industry/certicom-creates-standards-body/.
40
   https://www.metzdowd.com/pipermail/cryptography/2004-April/006798.html.
41
   https://www.certicom.com/content/certicom/en/code-and-cipher/article/529-reflections-the-
year-that-was-.html.
42
   Id.
43
   Id.
44
   Id.
45
   Id.


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the only firm that could drive a standards effort, since it is the most commercial promoter of elliptic

curve crypto.”46 Indeed, Certicom has been described as the “authority,” “leader,” and “expert” in

the field of ECC.47

       18.     Resulting from its pioneering discoveries in ECC, Certicom is well known to have

been the holder of many valuable patents covering certain implementations of ECC. For example,

Bruce Schneier48, an internationally renowned security technologist (known as the “security guru”)

and Adjunct Lecturer in Public Policy at the Harvard Kennedy School, once said that “Certicom

certainly can claim ownership of ECC,” noting that “[t]he algorithm was developed and patented

by the company’s founders, and the patents are well written and strong.”49 Certicom claimed to

have had “the world’s largest intellectual property portfolio for these types of [ECC] patents.”50

After acquiring Certicom, BlackBerry grew that portfolio to over 500 ECC patents.51

       19.     Satoshi chose Certicom’s secp256k1 curve for Bitcoin’s digital signature

algorithm.52 According to the Bitcoin wiki site, “secp256k1 was almost never used before Bitcoin

became popular.”53 As one commentator said, “If it wasn’t for Satoshi Nakamoto, you probably

would never have heard of the secp256k1 Elliptic Curve Cryptography (ECC) method.”54 Even



46
   https://www.cnet.com/tech/tech-industry/certicom-creates-standards-body/.
47
   See, e.g., https://www.metzdowd.com/pipermail/cryptography/2004-April/006798.html;
https://news.profoundimpact.com/tag/dr-scott-vanstone/; https://cpl.thalesgroup.com/partners
/rim-certicom.
48
   See https://www.hks.harvard.edu/faculty/bruce-schneier.
49
   https://betanews.com/2007/05/30/certicom-patent-suit-against-sony-threatens-to-unravel-aacs/.
50
   https://www.certicom.com/content/certicom/en/about/news/release/2007/certicom-announces-
executive-changes.html.
51
   https://blackberry.certicom.com/en.
52
   See, e.g., https://medium.com/asecuritysite-when-bob-met-alice/the-bluffers-guide-to-
secp256k1-when-satoshi-said-goodbye-to-pki-bad327c4f079; https://news.ycombinator.com/
item?id=28813291.
53
   https://en.bitcoin.it/wiki/Secp256k1.
54
   https://medium.com/asecuritysite-when-bob-met-alice/the-bluffers-guide-to-secp256k1-when-
satoshi-said-goodbye-to-pki-bad327c4f079.


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Dan Brown was surprised to learn that Bitcoin uses secp256k1 instead of other, more commonly

used parameters.55 Some suggest that Satoshi, having not received a recommendation for a

specific curve, just “picked one.”56 Others suggest that Satoshi relied on expert cryptographers in

selecting secp256k1.57

       20.     Whatever the reason, Satoshi’s choice of secp256k1 has proven to be well-liked by

the Bitcoin community and the broader cryptocurrency community. The Bitcoin wiki site reports

that after Bitcoin’s adoption of secp256k1, the curve “is now gaining in popularity due to its several

nice properties.”58 Gregory Maxwell, a former Bitcoin developer, said in a public forum in

October 2021 that Satoshi’s choice of secp256k1 “was a good choice at the time, esp[ecially] now

after the expiration of the GLV patent.”59 “The GLV patent” refers to another groundbreaking

innovation by Certicom’s in-house experts in elliptic curve cryptography, famously known as

“GLV Endomorphism,”60 which the Bitcoin community had been stalking for a decade or more

after Hal Finney, foundational Bitcoin developer (and receiver of the first ever Bitcoin transaction),

discovered in early 2011 that it can be used to speed up signature verifications by 25%.61

       21.     Finney, a well-known and highly respected cryptographer, posted on February 8,

2011 that he figured out a way to speed up ECDSA signature verification for the secp256k1 curve



55
   https://bitcoinmagazine.com/technical/satoshis-genius-unexpected-ways-in-which-bitcoin-
dodged-some-cryptographic-bullet-1382996984 (quoting Brown as saying “I did not know that
BitCoin is using secp256k1. Indeed, I am surprised to see anybody use secp256k1 instead of
secp256r1.”).
56
   https://learnmeabitcoin.com/technical/cryptography/elliptic-curve/ (quoting email between
Satoshi and Mike Hearn, a “Bitcoin developer” who published his emails with Satoshi).
57
   https://cointelegraph.com/news/satoshi-nakamoto-had-outside-cryptography-help-says-early-
bitcoin-dev (citing Laszlo Hanyecz’s account of his conversations with Satoshi).
58
   https://en.bitcoin.it/wiki/Secp256k1.
59
   https://news.ycombinator.com/item?id=28813291.
60
   The Asserted Patents’ inventions are independent from and not described in the GLV patent.
61
   https://btctimes.com/hal-finneys-proposal-for-optimizing-bitcoin-to-be-enabled-in-bitcoin-
core/.


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used by Bitcoin, based on techniques described in “Guide to Elliptic Curve Cryptography” by

Hankerson, Menezes and Vanstone.62 The “Vanstone” of the book’s authoring trio is Scott

Vanstone, co-founder of Certicom and co-inventor of several of the Asserted Patents in this case.

The technique that Finney’s post referred to is famously known among the Bitcoin community and

elsewhere as “GLV Endomorphism” or the “GLV method,” where “GLV” refers to the trio of

Certicom innovators that came up with it: Robert Gallant, Robert Lambert, and Scott Vanstone.63

All three were Certicom technologists and are co-inventors of several of the Asserted Patents in

this case. It is widely reported that Finney’s proposed inclusion of GLV Endomorphism in the

Bitcoin protocol, though it was eventually included in the Bitcoin Core software library named

libscep256k1, was not officially implemented at the time because of concerns that it would infringe

“the GLV patent,” i.e., U.S. Patent No. 7,110,538, which names Gallant, Lambert, and Vanstone

as the inventors.64 On the day the GLV patent expired, and over the days that followed, the Bitcoin

community celebrated the anticipated inclusion of GLV Endomorphism in future Bitcoin Core

releases.65 In fact, on the day the GLV patent expired, the Bitcoin Core community began the

process of deleting the “slower non-endomorphism code” and replacing it with the faster “GLV

optimization,” including by deleting the code that previously made GLV endomorphism optional,

thereby enabling GLV Endomorphism by default.66 Others in the Bitcoin community later

confirmed Finney’s observations that GLV Endomorphism results in significantly faster signature




62
   Id.; see also https://cointelegraph.com/news/one-of-hal-finney-s-lost-contributions-to-bitcoin-
core-to-be-resurrected.
63
   See id.
64
   See id.
65
   See id.
66
   https://github.com/bitcoin-core/secp256k1/pull/826 (“As the patent on the GLV optimization
has expired, there is no need to keep the slower non-endomorphism code around anymore.”).


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verifications (reportedly by 28%).67 Following Bitcoin’s lead, others in the crypto community

followed suit in adopting GLV Endomorphism optimizations.68

       22.     While some people like Finney, Malmi, and Hearn are known as early Bitcoin

developers, Satoshi Nakamoto is credited with creating the first Bitcoin client, i.e., the first

software implementing the Bitcoin protocol.69 Satoshi announced the release of the first version

of Bitcoin software to the “cryptography” community on January 8, 2009.70 Satoshi’s original

Bitcoin software is the foundation of today’s de facto authoritative reference implementation of

the Bitcoin protocol, known as “Bitcoin Core.”71 Bitcoin Core continues to implement ECC digital

signatures using ECDSA with secp256k1.72

       23.     The public history of Bitcoin’s development discussed above shows the impact that

Certicom’s innovations had on the shaping of Bitcoin and is a testament to the bona fides of

Certicom’s innovators as significant contributors to the advancement of important and valuable

ECC technology.

             Blackberry Acquired Certicom Following Their Years-Long Alliance

       24.     Blackberry was an early adopter of Certicom’s ECC technology. In July 2000, in

recognition of “Certicom’s high performance, efficient ECC,” Blackberry and Certicom entered

into “an alliance which will enable RIM to utilize Certicom’s elliptic curve cryptography (ECC)


67
   https://btctimes.com/bitcoin-upgrade-glv-enomorphism-tests-show-faster-verification/.
68
   See https://github.com/RustCrypto/elliptic-curves/issues/211 (“bitcoin-core/secp256k1 is now
switching to the endomorphism implementation by default: bitcoin-core/secp256k1#826 I think
it would make sense for us to do the same.”).
69
   https://en.bitcoin.it/wiki/Satoshi_Nakamoto.
70
   https://satoshi.nakamotoinstitute.org/emails/cryptography/16/.
71
   https://en.bitcoin.it/wiki/Bitcoin_Core (Bitcoin Core is “based on the original reference code
by Satoshi Nakamoto”); https://bitcoincore.org/en/about/ (“[Bitcoin Core] is a direct descendant
of the original Bitcoin software client released by Satoshi Nakamoto after he published the
famous Bitcoin whitepaper.”).
72
   https://en.bitcoin.it/wiki/Elliptic_Curve_Digital_Signature_Algorithm; https://en.bitcoin.it/
wiki/Secp256k1


                                               13
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technology throughout its wireless product offerings.”73 Blackberry recognized that “Certicom’s

Elliptic Curve Cryptography (ECC) technology enables strong, high performance security for

many pieces of the computing infrastructure,” and that “Certicom’s patented implementation of

ECC technology provides a more efficient alternative to conventional public key cryptographic

algorithms … allowing for faster processing speed, reduced bandwidth usage and decreased

battery requirements.”74 Accordingly, BlackBerry entered into an “agreement with Certicom, a

leader in ECC wireless security technology, [to] enable [BlackBerry] to provide the market with

the secure mobile devices they require for m-commerce transactions.”75

       25.     In 2009, BlackBerry acquired Certicom, giving rise to BlackBerry Certicom, “a

leader in applied cryptography and key management.”76 Certicom’s industry-leading research and

development continued under BlackBerry Certicom; together BlackBerry and Certicom continued

innovating and improving ECC technology. As a result of its rich history in ECC technology

development, “BlackBerry Certicom has industry leading expertise in Elliptic Curve Cryptography

and has established the world’s largest ECC-based patent portfolio.”77 Plaintiff Malikie now owns

part of that portfolio, including the Asserted Patents.

                                      Cryptocurrency Basics

       26.     Bitcoin paved the way for the thousands of cryptocurrencies that exist today. The

term “cryptocurrency,” or “crypto” for short, refers to a category of “digital money” that, like the

fundamental purpose of Bitcoin, “makes it possible to transfer value online without the need for a




73
   https://www.certicom.com/content/certicom/en/about/news/release/2000/research-in-motion-
and-certicom-to-enable-trusted-mobile-commerc.html.
74
   Id.
75
   Id.
76
   https://www.certicom.com/content/certicom/en/about.html.
77
   Id.; see https://blackberry.certicom.com/en.


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middleman like a bank or payment processor.”78 Most cryptocurrencies, including Bitcoin, are

decentralized (not managed or controlled by a government or other central authority), not backed

by anything of independent value (such as gold), and not guaranteed by anyone (such as a

government or bank). Instead, cryptocurrencies are managed by “peer-to-peer networks of

computers running free, open-source software.”79 Specifically, cryptocurrency transactions are

vetted and recorded using a technology called “blockchain,” which is a decentralized database

system that stores data in a distributed network of computers. This is in some ways analogous to

the ledger of accounts and transactions maintained by a traditional financial intermediary (such as

a bank or credit card company). However, unlike with a traditional intermediary where the security

of transactions and accounts is vested solely in the intermediary (which requires its customers to

trust the intermediary with their money), the security of blockchain transactions is effected by the

use of cryptography and “consensus” mechanisms to ensure that a majority of the computers on

the network agree that a transaction is valid before it is recorded (i.e., deemed to have occurred).80

       27.     As the name suggests, cryptocurrencies fundamentally rely on concepts from

cryptography and computer science to enable the creation of such decentralized, internet-based

monetary systems that are secure. Indeed, as stated on the Ethereum website, the world’s second

most popular cryptocurrency, “[t]he reason assets such as bitcoin and ether are called

‘cryptocurrencies’ is that the security of your data and assets is guaranteed by cryptography, not

by trusting an institution or corporation to act honestly.”81 Cryptocurrencies rely on cryptography




78
   https://www.coinbase.com/learn/crypto-basics/what-is-cryptocurrency.
79
   Id.
80
   Id.
81
   https://ethereum.org/en/what-is-ethereum/ (answering “What is a cryptocurrency?”); see also
https://www.coinbase.com/learn/crypto-basics/what-is-cryptography (“Cryptocurrencies are
entirely based on cryptographic ideas.”).


                                                 15
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(hence the name cryptocurrency) to protect participants’ assets from theft and to protect the

cryptocurrency system from dishonest or unauthorized manipulation that results in dilution of the

currency (e.g., double spending).82       More fundamentally, cryptography is what enables

cryptocurrencies like Bitcoin to be “trustless,” i.e., what allows cryptocurrency to be transacted

securely (even between strangers) without the need for a trusted intermediary to verify and process

payments.83

                                           Transactions

       28.     The role of cryptography as a fundamentally enabling technology in

cryptocurrencies like Bitcoin is evident in how cryptocurrency transactions are processed, i.e.,

initiated, validated, and recorded in the blockchain. Unlike with typical currencies, where

transactions transfer an amount of currency from one account to another that is redeemable in

physical notes and coins, “cryptocurrency transactions are simply data entries recorded on an

unchangeable, distributed ledger, referred to as a blockchain.”84 That is, with cryptocurrencies,

“no cryptocurrency is actually exchanged between people. Instead, ownership data associated with

both parties’ crypto wallets is updated on the blockchain each time a transaction is processed.”85

       29.     A cryptocurrency transaction—transferring crypto from the sender’s digital wallet

to the receiver’s digital wallet—involves several steps. Using wallet software, a transaction

(essentially, a bundle of data) is created that identifies the sender’s address (using a public key),

the recipient’s address (also using a public key), and the amount of cryptocurrency to be sent.86

The transaction requestor then creates a digital signature for the transaction with its private key



82
   See https://www.coinbase.com/learn/crypto-basics/what-is-cryptography.
83
   See id.
84
   https://www.kraken.com/learn/how-do-cryptocurrency-transactions-work.
85
   Id.
86
   Id.


                                                 16
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and public key (which are cryptographically linked, as the private key is used to create the public

key) and submits the signed transaction to the blockchain network for validation. By signing the

transaction with its private key, the requestor proves to the receiving party and to the blockchain

network that the transaction is valid. After the receiving party validates the transaction using the

sender’s public key, the transaction is broadcast to and propagated through the blockchain network,

where a majority network nodes must independently verify that the transaction is valid in order for

the transaction to be added to the next “block” of the blockchain and thus be permanently and

irreversibly recorded.87

                                              Wallets

       30.     A cryptocurrency “wallet” is a tool for interacting with a Blockchain network that

allows a user to send and receive cryptocurrencies like Bitcoin.88 A wallet is typically an

application (software) that functions as a wallet for storing the user’s private keys and provides

interfaces to access and perform transactions with the user’s cryptocurrency. Wallets can be

custodial (keys are managed by a third party) or non-custodial (keys are managed solely by the

user). Forms of hardware wallets also exist (e.g., a USB drive wallet). Crypto wallets don’t store

the actual cryptocurrency (because the cryptocurrency exists as data in the blockchain) but instead

store the public and private keys needed to carry out crypto transactions on the blockchain.89

                                  Private Keys and Public Keys

       31.     Private keys and public keys are related but different pieces of information used in

cryptocurrency transactions. They are part of a technique known as asymmetric cryptography, in

which two keys are used: (1) a private key (possessed by only the entity wishing to prove its



87
   See id.
88
   https://www.investopedia.com/terms/b/bitcoin-wallet.asp.
89
   See id.


                                                17
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identity) and (2) a public key (possessed by any number of entities who wishes to verify the identity

of the entity possessing the private key).90 Unlike the alternative approach known as symmetric

cryptography—in which a single key is used by both (or all) parties for their respective purposes,

thereby preventing the key from being associated with a unique identity—asymmetric

cryptography simplifies key exchange by reducing the number of keys needed to secure messages

between parties and allows a message signature to be uniquely authenticated (i.e., associated with

the unique identity of the sender).91




                                         ECC Primer at 5

       32.     Importantly, while the public key can be used by an entity to verify that another

possesses the corresponding private key, “you cannot derive the private key from the public. This

is the critical feature of asymmetric cryptographic schemes that makes them so useful.” ECC

Primer at 4; see also id. (“The critical feature of asymmetric cryptography, that makes it useful, is




90
   https://www.certicom.com/content/dam/certicom/images/pdfs/WP-ECCprimer.pdf (“ECC
Primer”) at 4.
91
   Id. at 4–5.


                                                 18
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this key pair—and more specifically, a particular feature of the key pair: the fact that one of the

keys cannot be obtained from the other.”).       It is also “the core technology behind digital

signatures.” Id. “A digital signature is a transform performed on a message using the private key,

whose integrity may be verified with the public key.” Id. at 5.




                                         ECC Primer at 5

Elliptic curve cryptography (ECC) is an approach to doing asymmetric cryptography, including

for use with digital signatures. Id.

         33.    Private and public keys form a related key-pair—a public key is generated from a

private key through a one-way hash function (or “trapdoor function”) that is relatively easy to

solve in one direction but nearly impossible to solve in the other direction, making it nearly

impossible to determine a private key from a public key.92 See also ECC Primer at 6-7 (“In all

asymmetric cryptographic schemes, this property—the property that one key is used for

encryption, and another for decryption, and the decryption key cannot be found from the

encryption key—is derived from the use of mathematical functions whose inverse is extremely

difficult to calculate. You may understand an asymmetric cryptographic key pair as a pair of

numbers which have some relationship associated with a mathematical function which is relatively

easy to compute in one direction, but whose inverse is in practical terms intractable. This feature—

the function which is tractable in one direction, but intractable in the other, is common to all

asymmetric cryptosystems, including ECC.”). This characteristic of asymmetric cryptography


92
     https://www.ledger.com/academy/blockchain/what-are-public-keys-and-private-keys.


                                                19
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allows the sender of cryptocurrency to digitally sign a transaction using their unique and secret

private key as proof of ownership, and it allows the recipient and blockchain nodes to verify the

digital signature and validate the transaction using the sender’s public key. Accordingly, in

cryptocurrency transactions, public keys are used to identify the sending and receiving addresses

(akin to account numbers in a bank), and private keys are used to sign transactions when sending

cryptocurrency to others (which can be verified by the receiver and the blockchain network using

the sender’s public key).93

                                             Blockchain

       34.     Cryptocurrencies like Bitcoin are based on a technology called “blockchain.”94 A

blockchain is essentially a distributed database that, in a cryptocurrency network like Bitcoin,

contains a list or “ledger” of all historical transactions on the network (i.e., a record of every time

anyone sent or received bitcoin). The blockchain of a cryptocurrency like Bitcoin is in some ways

akin to the ledger or balance sheet of a bank.

       35.     A blockchain network includes a number of distributed computers (called “nodes”)

that store a copy of the blockchain ledger and participate in the verification and recording of each

transaction.95 To become part of the blockchain ledger, a transaction must be transmitted to the

network of nodes, which work to confirm the validity of the transaction using cryptographic

algorithms. Valid transactions are collected into a fixed-size data file called a “block” (akin to a

page of a ledger) that, once filled, is run through a cryptographic hash function (that is, the block

is “hashed”) to generate a unique hash value for that block. That block’s hash value is included

within the next block that is created so that when the next block is hashed, its hash value depends



93
   See id.
94
   See https://www.investopedia.com/terms/b/blockchain.asp.
95
   See id.


                                                  20
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on the hash of the previous block, thereby creating an irreversible “chain” of blocks (hence the

name “blockchain”) as the process continues.96 See also Bitcoin Whitepaper at 2–5.




                                     Bitcoin Whitepaper at 3




                                     Bitcoin Whitepaper at 5

          36.   The Bitcoin blockchain creates a chronological ledger of chained transactions

where each new block depends on the information from all previous blocks, thereby making it

nearly impossible to undo or manipulate historical transactions without permission.97 See also

Bitcoin Whitepaper at 2–3 (“Once the CPU effort has been expended to make it satisfy the proof-

of-work, the block cannot be changed without redoing the work. As later blocks are chained after

it, the work to change the block would include redoing all the blocks after it.”), id. (“To modify a

past block, an attacker would have to redo the proof-of-work of the block and all blocks after it


96
     See id.
97
     See id.


                                                21
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and then catch up with and surpass the work of the honest nodes. We will show later that the

probability of a slower attacker catching up diminishes exponentially as subsequent blocks are

added.”).

                  Bitcoin’s Consensus Mechanism: Proof of Work (“Mining”)

       37.     “‘Proof of work’ and ‘proof of stake’ are the two major consensus mechanisms

cryptocurrencies use to verify new transactions, add them to the blockchain, and create new

tokens.”98 “Proof of work, first pioneered by Bitcoin, uses mining to achieve those goals.”99 In a

proof of work blockchain, members of the network (“miners”) race against each other to be the

first to solve a complex cryptographic math problem for determining a hash value associated with

a particular block of transactions and present their solution to the network.100 If the miner’s

solution is verified by the network, the miner is allowed to create a new block (containing the

transactions verified by the miner) and broadcast it to the network. The nodes on the network will

then perform audits of the ledger and the new block, and if the auditing nodes agree, the new block

is “chained” to the previous block (creating a chronological chain of transactions) and the miner

is rewarded with a unit of “coin” (i.e., cryptocurrency), consisting of a mining fee for solving the

block, as well as transaction fees for processing the underlying transactions, as compensation for

expending their resources (e.g., energy) in the performance of this work. As the block chain grows,

mining the next block to receive its reward becomes more computationally expensive (and

therefore more resource intensive). Accordingly, the proof-of-work consensus model is more

rewarding for those with more resources to deploy.101




98
   https://www.coinbase.com/learn/crypto-basics/what-is-proof-of-work-or-proof-of-stake.
99
   Id.
100
    See id.; Bitcoin Whitepaper at 3–4; https://www.investopedia.com/terms/b/blockchain.asp.
101
    See id.


                                                22
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                       MARA is One of the World’s Largest Bitcoin Miners

          38.    MARA is one of the largest Bitcoin miners in the world. MARA owns and/or

operates multiple mining facilities in the United States that utilize more than 270,000 specialized

bitcoin mining computers (“miners”) that are collectively capable of performing more than 47 exa-

hashes per second (EH/s)—that’s 47 quintillion (47,000,000,000,000,000,000) cryptographic

calculations per second.102 Globally, MARA claims to operate 6.6% of the Bitcoin network with

309,334 operational miners capable of performing 53.7 EH/s.103

          39.    According to MARA, “[o]ur core business is bitcoin mining, and we produce, or

‘mine,’ bitcoin using one of the industry’s largest and most energy-efficient fleets of specialized

computers ….” https://ir.mara.com/sec-filings/all-sec-filings/content/0001507605-25-000003/0

001507605-25-000003.pdf (“MARA 2025 10-K”) at 6; id. at 33 (“We believe we are the world’s

largest publicly traded bitcoin mining company, with the majority of our production in the United

States.”) (“Historically, we were focused on establishing MARA as the largest and most efficient

bitcoin miner.”).     According to MARA, “[a]s of December 31, 2024, [MARA] operated

approximately 400,000 mining rigs globally, with an energized hashrate of approximately 53.2

exahashes per second (“EH/s”)” and in 2024 “mined 9,430 bitcoin.” Id. at 7. MARA has located

a “substantial” number of its bitcoin miners in the state of Texas because of the “generally

favorable regulatory environments for bitcoin miners compared to other states.” Id. at 12.

          40.    MARA describes Bitcoin and the Bitcoin mining process as follows:

                 Bitcoin is a decentralized digital asset that operates on a peer-to-peer
                 network, allowing users to send and receive payments without the
                 need for banks and other intermediaries. Bitcoin is not linked to any
                 fiat currency or country’s monetary policy and therefore serves as a
                 store of value outside of government control. This is possible by


102
      https://www.mara.com/operations#global-fleet.
103
      See id.


                                                   23
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               using blockchain technology, which is a distributed ledger that
               records and verifies all transactions on the network.

               The Bitcoin blockchain is a public, transparent, and unalterable
               record of all transactions that have ever occurred on the peer-to-peer
               network. When a user sends a transaction on the Bitcoin network, it
               is broadcast to the network and added to a pool of unconfirmed
               transactions known as the “mempool.” Miners, which operate
               specialized hardware, known as bitcoin mining rigs or application-
               specific integrated circuits (“ASICs”), then compete to process these
               unconfirmed transactions into a “block.” The first miner to
               successfully confirm and assemble the transactions into a block
               receives a reward in the form of newly minted bitcoin (block
               subsidy) and transaction fees. Each confirmed transaction is
               cryptographically signed and permanently recorded in the
               blockchain as a new block, and cannot be altered or deleted.

               The blockchain is maintained by a robust and public open-source
               architecture consisting of a network of computers, known as nodes,
               that work together to verify and validate new transactions. Because
               the blockchain is decentralized and transparent, all users can verify
               the legitimacy of a transaction without having to rely on a third
               party. This eliminates the need for intermediaries, which can be slow
               and expensive, and makes the network resistant to censorship and
               fraud.

Id. at 6-7.

        41.    According to MARA, “[b]itcoin mining … provid[es] the computational power

needed to verify transactions and add new blocks to the blockchain.” Id. at 7. As a bitcoin mining

company, MARA “provides transaction verification services to the transaction requestor, in

addition to the Bitcoin network.” Id. at F-23. This is part of MARA’s “major” or “central”

operation. Id. at F-3. As such, “[MARA’s] revenues are generally comprised of block rewards

earned in bitcoin as a result of successfully solving blocks, and transaction fees earned for verifying

transactions in support of the blockchain.” Id. at 35.




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                             MARA’s Use of the Patented Technologies

        42.      On information and belief, MARA engages and has engaged in bitcoin mining

activities since at least 2017 or 2018.104 105 On information and belief, MARA engages and has

engaged in bitcoin mining using specialized mining computers, including those which it describes

as its “internal mining pool,” “Company-operated mining pool,” or “MaraPool.” MARA 2025 10-

K at 6, 20, F-24, F-35. On information and belief, MARA’s mining activities include and have

included verifying bitcoin transactions, id. at 6–7, 22, 35, F-3, F-22–F-24, including verifying

digital signatures consistent with the Bitcoin protocol using ECDSA and secp256k1, see, e.g., id.

at 7, 12, 16, 19 (referring to open-source Bitcoin software and architecture).106 On information

and belief, at least from September 2021 until May 2022, MARA operated a mining pool that also

utilized computing resources from unrelated third parties, through which MARA provided

transaction verification services to transaction requestors and the Bitcoin network. MARA 2025

10-K at F23-24.

        43.      On information and belief, MARA generates and has generated digital signatures,

including digital signatures consistent with the Bitcoin protocol using ECDSA and secp256k1,

including for generating bitcoin transactions. For example, MARA sells and has sold bitcoin. See,

e.g., https://ir.mara.com/sec-filings/all-sec-filings/content/0001628280-24-007680/mara-2023123

1.htm (“MARA 2024 10-K”) at 26 (“[W]e are now selling periodically as a means of generating

cash for our operations. By selling bitcoin outright, we can realize 100% of the then value of our


104
   See https://www.mara.com/posts/from-genesis-to-global-impact-marathon-digitals-evolution;
https://www.mara.com/posts/the-road-to-23-exahash-short-film-marathon-digital-holdings.
105
   MARA’s history as a bitcoin miner, as well as its history of transacting in bitcoin (buying and selling,
transferring and receiving, etc.), is also described in its publicly available annual 10-K filings with the SEC
from 2011-2024, which are incorporated here by reference.
106
   See also, e.g., https://en.bitcoin.it/wiki/Protocol_documentation#Transaction_Verification;
https://en.bitcoin.it/wiki/Elliptic_Curve_Digital_Signature_Algorithm;
https://en.bitcoin.it/wiki/Secp256k1.


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bitcoin when addressing liquidity needs.”), 41 (“From time to time, the Company sells bitcoin to

offset its monthly cash operating costs. During the year ended December 31, 2023, the Company

sold 9,482 bitcoin for total proceeds of $264.9 million.”), 52 (“The Company … will also continue

to sell bitcoin as a means of generating cash to fund monthly operating costs and for general

corporate purposes. The Company … may buy and sell bitcoin from time to time (separately from

what is outlined above) for treasury management purposes.”).

       44.     On information and belief, MARA uses digital asset wallets for receiving and

selling bitcoin. See, e.g., MARA 2025 10-K at F-3 (“We confirmed the year-end digital asset

balances directly with the custodians of the Company’s wallets.”), F-12 (“The Company tracks its

cost basis of digital assets by-wallet in accordance with the first-in-first-out method of

accounting.”), F-12–F-24 (“The MaraPool wallet (owned by the Company as Operator) is recorded

on the distributed ledger as the winner of proof of work block rewards and assignee of all

validations and, therefore, the transaction verifier of record.”); see id. at 22 (“Digital assets are

controllable only by the possessor of both the unique public key and private key relating to the

local or online digital wallet which hold the digital assets.”); MARA 2024 10-K at F-19 (“On June

10, 2022, the Company redeemed 100% of its limited partnership interest in the Fund in exchange

for approximately 4,769 bitcoin with a fair market value of approximately $137.8 million. This

bitcoin was transferred from the Fund’s custodial wallet to the Company’s digital wallet.”). On

information and belief, MARA regularly transfers digital assets to or from other entities, including

vendors, consultants and services providers. MARA 2025 10-K at 23.

       45.     MARA began engaging in the foregoing infringing activities years after Certicom

and BlackBerry invented and received patents covering the ECC technologies at issue in this




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action. Indeed, most of these innovations were already incorporated into the Bitcoin protocol and

architecture by the time MARA began its Bitcoin mining operations.

        46.    On information and belief, the accused activities are important parts of MARA’s

core business, its “major” or “central” operations, and its general source of revenue. MARA 2025

10-K at 35, F-3.

                                      PATENTS IN SUIT

        47.    Malikie is the assignee of and owns all right and title to U.S. Patent Nos. 8,788,827

(the “’827 Patent”); 10,284,370 (the “’370 Patent”); 7,372,960 (the “’960 Patent”); 8,666,062 (the

’062 Patent”); 7,372,961 (the “’961 Patent”); and 8,532,286 (the “’286 Patent”) (collectively, the

“Asserted Patents”).

        48.    The Asserted Patents, now owned by Malikie, were originally assigned to Certicom.

Their inventors are former Certicom employees who spearheaded Certicom’s industry-leading

research and development in elliptic curve cryptography, applied cryptography and key

management, and other data security technologies. After a longstanding alliance between

BlackBerry and Certicom that enabled BlackBerry to utilize Certicom’s elliptic curve

cryptography technology in its products, BlackBerry acquired Certicom in 2009.107 Through its

acquisition of Certicom and continued research and development in ECC, key management, and

other aspects of data security, BlackBerry amassed “the world’s largest ECC-based patent

portfolio,”108 which grew to include over 500 ECC patents109.




107
    See https://www.certicom.com/content/certicom/en/about.html;
https://www.certicom.com/content/certicom/en/about/news/release/2000/research-in-motion-
and-certicom-to-enable-trusted-mobile-commerc.html.
108
    https://www.certicom.com/content/certicom/en/about.html.
109
    https://blackberry.certicom.com/en.


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       49.     Certicom and BlackBerry developed numerous innovative and diverse

technologies, including groundbreaking inventions pertaining to generating and verifying digital

signatures and related cryptographic and data security technology. Some of these groundbreaking

inventions are described and claimed in certain of the Asserted Patents.

                      The “Accelerated Verification Patents” (’827, ’370)

       50.     Plaintiffs incorporate by reference the preceding paragraphs of this Complaint.

       51.     The ’827 Patent, entitled “Accelerated Verification of Digital Signatures and Public

Keys,” was duly and lawfully issued on July 22, 2014. A true and correct copy of the ’827 Patent

is attached hereto as Exhibit 1. The application for the ’827 Patent was filed on September 14,

2012 and claims the benefit of priority to earlier related applications, including provisional

application no. 60/644,034, filed on January 18, 2005.

       52.     The ’827 Patent has been and continues to be in full force and effect since its

issuance. Malikie owns by assignment the entire right and title in and to the ’827 Patent, including

the right to seek damages for any infringement thereof.

       53.     The ’370 Patent, entitled “Accelerated Verification of Digital Signatures and Public

Keys,” was duly and lawfully issued on May 7, 2019. A true and correct copy of the ’370 Patent

is attached hereto as Exhibit 2. The application for the ’370 Patent was filed on June 27, 2014 as a

continuation of the ’827 Patent.

       54.     The ’370 Patent has been and continues to be in full force and effect since its

issuance. Malikie owns by assignment the entire right and title in and to the ’370 Patent, including

the right to seek damages for any infringement thereof.

       55.     The’827 Patent and ’370 Patent (the “Accelerated Verification Patents”) share the

same title, specification, inventors, and a common priority claim.




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        56.    The Accelerated Verification Patents relate to computational techniques used in

cryptographic algorithms, including elliptic curve algorithms for generating and verifying digital

signatures, that enable accelerated digital signature verification. See, e.g., Ex. 1 at 1:12-13, 4:15-

33, 9:32-37, 11:43-50, 12:47-59, 13:60-62, 14:40-42, 15:27-40.110

        57.    Cryptographic algorithms for generating and verifying digital signatures are used

in cryptographic systems (or “cryptosystems”) to secure electronic data in computer systems and

computer networks. See, e.g., Ex. 1 at 1:18-48; see also, e.g., 2:17-3:17, 6:23-36. The nature of

electronic data in computer systems and computer networks presents unique security concerns

relating to, for example, digital message authenticity, for which specialized digital signature

techniques were found to be necessary. See, e.g., Ex. 1 at 1:18-48; see also, e.g., id. at 2:17-3:17;

Whitfield Diffie and Martin Hellman, New Directions in Cryptography (1976)111 at 645 (“Current

electronic authentication techniques cannot meet this need.”), 647 (“Unforgeable digital signatures

and receipts are needed.”), 649 (“Current electronic authentication systems cannot meet the need

for a purely digital, unforgeable, message dependent signature. They provide protection against

third party forgeries, but do not protect against disputes between transmitter and receiver.”), 649

(observing that “we must discover a digital phenomenon” to provide authentication for a “purely

electronic form of communication”).

        58.    Digital signatures are generated using public key cryptography, see, e.g., Ex. 1 at

1:18-48; see also, e.g., id. at 2:17-3:17, which is a type of technology for securing electronic

communications that was discovered after the advent of digital computing to address cryptography



110
    Citations to the Accelerated Verification Patents (Exhibits 1 and 2) are exemplary and non-
limiting. Because the ’827 Patent and ’370 Patent share a common specification, only the ’827
Patent (Exhibit 1) is cited in this Section. Citations to Exhibit 1 in this Section are intended to be
representative of the Accelerated Verification Patents.
111
    https://ee.stanford.edu/~hellman/publications/24.pdf (“New Directions in Cryptography”).


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problems arising particularly in “computer controlled communication networks” that created “a

need for new types of cryptographic systems.”112 New Directions in Cryptography at 644; see also

id. (“Contemporary cryptography is unable to meet the requirements, in that its use would impose

such severe inconveniences on the system users, as to eliminate many of the benefits of

teleprocessing.”); https://www.invent.org/inductees/whitfield-diffie (“In 1976, Whitfield Diffie,

Martin Hellman, and Ralph Merkle developed public key cryptography (PKC), an innovative new

method for securing electronic communications.”); https://archive.nytimes.com/www.nytimes

.com/library/cyber/week/122497encrypt.html (“The set of algorithms, equations and arcane

mathematics that make up public key cryptography are a crucial technology for preserving

computer privacy in and making commerce possible on the Internet. Some hail its discovery as

one of the most important accomplishments of 20th-century mathematics …. Without it, there

would be no privacy in cyberspace.”); Whitfield Diffie, The First Ten Years of Public Key

Cryptography (1988)113 at 560 (“Public key cryptography was born in May 1975, the child of two

problems,” where “[t]he second problem … was the problem of signatures. Could a method be

devised that would provide the recipient of a purely digital electronic message with a way of

demonstrating to other people that it had come from a particular person…?”); id. at 560 (“This

separation [of the capacities for encryption and decryption using public key cryptography] allows

important improvements in the management of cryptographic keys and makes it possible to ‘sign’

a purely digital message.”); https://bitcoinwiki.org/wiki/public-key-cryptography (“Public key



112
    Some credit Whitfield Diffie, Martin Hellman, and Ralph Merkle with discovering public key
cryptography, while others credit James Ellis, Clifford Cocks, and Malcom Williamson. Diffie, Hellman,
and Merkle have received multiple patents for public key cryptography techniques, including U.S. Patent
Nos. 4,200,770 and 4,218,582. Other public key cryptography techniques, like RSA, have also been
patented. See, e.g., U.S. Patent No. 4,405,829.
  https://www.cs.virginia.edu/~evans/greatworks/diffie.pdf (“The First Ten Years of Public Key
113

Cryptography”).


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algorithms are fundamental security ingredients in modern [ ] applications and protocols assuring

the confidentiality[ and] authenticity [ ] of electronic communications and data storage. They

underpin various Internet standards ….”); https://www.nsa.gov/History/Cryptologic-History

/Historical-/Historical-Figures-View/Article/3006218/clifford-cocks-james-ellis-and-malcolm-

williamson/ (“The security of the global communication infrastructure is built on public key

cryptography and the importance of PKC in enabling the modern world of secure banking, e-

commerce, and encrypted messaging cannot be overstated.”).

       59.     As the patents explain, “Public key cryptography permits the secure

communication over a data communication system without the necessity to transfer identical keys

to other parties in the information exchange through independent mechanisms, such as a courier

or the like.” See, e.g., Ex. 1 at 1:24-34. “Public key cryptography is based upon the generation of

a key pair, one of which is private and the other public that are related by a one way mathematical

function.” Id. “The one way function is such that, in the underlying mathematical structure, the

public key is readily computed from the private key but the private key cannot feasibly be

ascertained from the public key.” Id. “Public key cryptography may also be used to digitally sign

a message to authenticate the origin of the message.” Id. at 1:44-48. “The author of the message

signs the message using his private key and the authenticity of the message may then be verified

using the corresponding public key.” Id. So, in a network where members do not know each other

(or wish to remain pseudonymous) and have never even communicated with each other previously,

“[a] subscriber can sign a message by encrypting it with his own secret key. Anyone with access

to the public key can verify that it must have been encrypted with the corresponding secret key,

but this is of no help to him in creating (forging) a message with this property.” The First Ten

Years of Public Key Cryptography at 561. “The availability of a signature that the receiver of a




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message cannot forge and the sender cannot readily disavow makes it possible to trust the network

with negotiations and transactions of much higher value than would otherwise be possible.” Id.

Accordingly, digital signature technology based on public key cryptography fundamentally

enables “trustless” networks that do not require a trusted intermediary to verify or authenticate

messages.

       60.     The patents further explain that “[t]he security of such systems [employing digital

signatures using public key cryptography] is dependent to a large part on the underlying

mathematical structure.” See, e.g., Ex. 1 at 1:49-55. “The most commonly used structure for

implementing discrete logarithm systems is a cyclic subgroup of a multiplicative group of a finite

field in which the group operation is multiplication or cyclic subgroups of elliptic curve groups in

which the group operation is addition.” Id.

       61.     “An elliptic curve E is a set of points of the form (x,y) where x and y are in a field

F, such as the integers modulo a prime [number] p, commonly referred to as Fp, and x and y satisfy

a non-singular cubic equation, which can take the form y2=x3+ax+b for some a and b in F.” Id. at

1:56-2:16. Elliptic curves have other defining characteristics that give them special properties

making them useful for cryptographic implementations. See id.

       62.     “In an elliptic curve cryptosystem,” “[t]he key pair may be used with various

cryptographic algorithms to establish common keys for encryption and to perform digital

signatures.” Id. at 2:17-27. “One such algorithm is the Elliptic Curve Digital Signature Algorithm

(ECDSA) used to generate digital signatures on messages exchanged between entities. Entities

using ECDSA have two roles, that of a signer and that of a verifier.” Id. at 2:28-31. In ECDSA

cryptosystems, “[the] signer selects a long term private key d, which ... must be secret.” Id. at

2:31-41. The signer also computes “Q”, which is “the long term public key of the signer, and is




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made available to the verifiers.” Id. “Finding the private key d from the public key Q is believed

to [be] an intractable problem for the choices of elliptic curves used today.” Id. Accordingly,

“[f]or any message M, the signer can create a signature, which is a pair of integers (r, s) in the case

ECDSA,” and “[a]ny verifier can take the message M, the public key Q, and the signature (r, s),

and verify whether it was created by the corresponding signer.” Id. at 2:42-48. This is because

creation of a valid signature (r, s) is believed to possible only by an entity who knows the private

key d corresponding to the public key Q.” Id.

       63.     The process for creating a digital signature (signing an electronic message) using

ECDSA includes, among others, the following steps. “First, the signer chooses some integer k …

that is to be used as a session, or ephemeral, private key. The value k must be secret.” Id. at 2:49-

63. “Then, the signer computes a point R=kG that has coordinates (x, y).” Id. “Next, the signer

converts x to an integer x' and then computes r=x' mod n, which is the first coordinate of the

signature.” Id. “The signer must also compute the integer e=h(M) mod n, where h is [a] hash

function.” Id. “Finally, the second coordinate s is computed as s=(e+dr)/s mod n.” Id. “The

components (r, s) are used by the signer as the signature of the message, M, and sent with the

message to the intended recipient.” Id.

       64.     The process for verifying a digital signature created using ECDSA includes, among

others, the following steps. “First the verifier computes an integer e=h(M) mod n from the received

message.” Ex. 1 at 2:64-3:4. “Then the verifier computes integers u and v such that u=e/s mod n

and v=r/s mod n.” Id. “Next, the verifier computes a value corresponding to the point R that is

obtained by adding uG+vQ. This has co-ordinates (x, y).” Id. “Finally the verifier converts the

field element x to an integer x' and checks that r=x' mod n. If it does the signature is verified.” Id.




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        65.    The inventors recognized technological problems associated with the above-

described ECDSA signature verification process and invented ways to improve it. For example,

the inventors recognized that “the verification of an ECDSA signature appears to take twice as

long as the creation of an ECDSA signature, because the verification process involves two scalar

multiplications, namely uG and vQ, whereas signing involves only one scalar multiplication,

namely kG.” Ex. 1 at 3:5–17. The inventors further recognized that “[e]lliptic curve scalar

multiplications consume most of the time of these processes, so twice as many of them essentially

doubles the computation time.” Id. And, while some “[m]ethods are known for computing uG+vQ

that takes less time than computing uG and v[Q] separately,” the inventors recognized that such

methods nevertheless “mean that computing uG+vQ can take 1.5 times as long as computing kG.”

Id.

        66.    Accelerating elliptic curve computations (reducing computing time) is a

technological problem for which the inventors discovered technological solutions. Accelerating

elliptic curve computations requires the use of additional computer resources, such as memory and

processing capabilities. See Ex. 1 at 3:18-4:14. However, known techniques for accelerating

elliptic curve computations provided limited overall benefits to the overall computer architecture

because the ability to achieve faster operations came at the significant cost of more memory and

potentially wasteful pre-computation processing cycles. Id. The inventors recognized that “these

costs may accumulate to the point that any benefit of faster computation is offset by the need to

store or communicate” more pre-computed data. Moreover, “[t]he net benefit depends on the

relative cost of time, memory and bandwidth, which can vary tremendously between

implementations and systems.” Id. Accordingly, achieving such benefits required case-by-case




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optimizations of parameters to strike a balance between an achievable increase in speed with

increases in computational and memory costs. See id.

       67.     The inventors taught improvements to the ECDSA digital signature verification

process. Ex. 1 at 4:15-33. For example, the patents teach techniques that enable accelerated

signature verification, which include, among other things, generating, for use with a digital

signature (e.g., a signature with components (r, s)), an indicator (e.g., i) to identify which value of

a plurality of values (e.g., for a point with coordinates (x, y)) recover able from the first signature

component (e.g., r of the pair (r, s)) is an ephemeral public key (e.g., R). See, e.g., Ex. 1 at 5:23-

31, 6:37–7:38, 9:44-46, 10:61–11:5, 12:11–59, 15:29–33. The patents teach that such techniques

accelerate the recovery of, for example, an ephemeral public key (e.g., R) for verifying digital

signatures (thereby also accelerating digital signature verification), which provide a technological

improvement. See, e.g., id.

       68.     The patents also teach techniques that enable accelerated signature verification,

which include, among other things, recovering (or generating) a signer’s public key (e.g., Q) where

doing so includes computing Q=r-1 (sR-eG), where G comprises a generator of an elliptic curve

group that includes a first elliptic curve point R and the second elliptic curve point Q. See, e.g.,

Ex. 1 at 4:48-5:4; 7:39–58, 8:12–9:31, 9:67–10:34, 12:43–59, 13:1–26, 15:15–40. The patents

teach that such techniques accelerate the verification of digital signatures, allowing more digital

signatures to be verified in a given amount of time, which provide a technological improvement

over preexisting techniques. See, e.g., id.

                       The “Finite Field Engine Patents” (’960 and ’062)

       69.     Plaintiffs incorporate by reference the preceding paragraphs of this Complaint.




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        70.    The ’960 Patent, entitled “Method and Apparatus for Performing Finite Field

Calculations,” was duly and lawfully issued on May 13, 2008. A true and correct copy of the ’960

Patent is attached hereto as Exhibit 3. The application for the ’960 Patent was filed on January 29,

2002 and claims the benefit of priority to earlier related applications, including provisional

application nos. 60/343,220, 60/343,223, and 60/343,226, and 60/343,227, all filed on December

31, 2001.

        71.    The ’960 Patent was in full force and effect since its issuance. Malikie owns by

assignment the entire right and title in and to the ’960 Patent, including the right to seek damages

for any infringement thereof.

        72.    The ’062 Patent, entitled “Method and Apparatus for Performing Finite Field

Calculations,” was duly and lawfully issued on March 4, 2014. A true and correct copy of the ’062

Patent is attached hereto as Exhibit 4. The application for the ’062 Patent was filed on April 11,

2008 as a continuation of the ’960 Patent.

        73.    The ’062 Patent was in full force and effect since its issuance. Malikie owns by

assignment the entire right and title in and to the ’062 Patent, including the right to seek damages

for any infringement thereof.

        74.    The ’960 Patent and ’062 Patent (the “Finite Field Engine Patents”) share the same

title, specification, inventor, and common priority claim.

        75.    The Finite Field Engine Patents relate generally to finite field engines and methods

for use with cryptographic systems. See, e.g., Ex. 3 at 1:10–13.114




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   Citations to the Finite Field Engine Patents (Exhibits 3 and 4) are exemplary and non-
limiting. Because the ’960 Patent and ’062 Patent share a common specification, only the ’960
Patent (Exhibit 3) is cited in this Section. Citations to Exhibit 3 in this Section are intended to be
representative of the Finite Field Engine Patents.


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       76.     The patents teach that “[c]ryptography is commonly used to provide data security,

integrity, and authentication” over communication channels, such as, for example, connections

over the Internet or a wireless network. See, e.g., id. at 1:16–39. Protocols employing such

cryptographic technology may require the use of secret keys. Id. For example, “[c]orrespondents

using public key cryptography each have a private key and a corresponding public key” such that

“it is computationally infeasible to compute the private key given only the public key,” while “a

mathematical relationship between the keys allows them to be used to provide security, integrity,

or authentication in various protocols where the public keys are shared and the private keys are

kept secret.” Id.

       77.     The patents teach that “[e]lliptic curve cryptography (ECC) is a particularly

efficient form of public key cryptography that is especially useful in [resource] constrained

environments.” See, e.g., id. at 1:40–55.

       78.     As the patents explain, an elliptic curve is specified with “a finite field and an

equation over that finite field are needed,” where “[t]he points on the elliptic curve are the pairs of

finite field elements satisfying the equation of the curve.” See, e.g., id. at 1:40–55. “To carry out

calculations involving points on the elliptic curve, calculations are done in the underlying finite

field, according to well-known formulas that use parameters of the curve.” Id. “These formulas

define an addition operation on a pair of elliptic curve points,” and “[a] scalar multiplication

operation is defined by repeated additions, analogously to regular integer multiplication.” Id.

       79.     Users of an elliptic curve cryptosystem generate a key pair comprising a private

key and a public key based on parameters common to all uses (including the finite field, the elliptic

curve, and a generator point on the curve). Id. at 1:56–65. A correspondent’s private key is an

integer (which is kept secret, such as a random number) that is less than the order of the elliptic




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curve.    Id.   “A correspondent’s public key is the elliptic curve point obtained by scalar

multiplication of the private key with a generator point.” Id.

         80.    The patents teach that “[t]he security level of a cryptographic system mainly

depends on the key size that is used,” where “[l]arger key sizes give a higher security level than

do smaller key sizes.” See, e.g., id. at 1:66–2:7. “[H]owever, different key sizes require defining

different elliptic curves over different finite fields,” where (generally) “the greater the desired

cryptographic strength of the ECC, the larger will be the size of the finite field.” Id. Multiple

technological problems emerge from these possibilities.

         81.    For example, given the possible variability in elliptic curves and finite fields, “an

implementation of elliptic curve cryptography may need to support several different finite fields

for use in particular applications.” Id. at 2:8–24. The patents teach that “[i]mplementing [such]

an elliptic curve cryptosystem therefore requires either the implementation of specific methods for

each finite field or a generic method usable in any finite field.” See, e.g., id. The patents further

teach that “[t]he use of specific methods for each finite field leads to more efficient code since it

may be optimized to take advantage of the specific finite field,” but that “supporting several finite

fields in this way will increase the code size dramatically.” See, e.g., id. On the other hand, “[t]he

use of a generic method prevents the use of optimization techniques, since the code cannot take

advantage of any particular properties of the finite field,” which “makes the code less efficient but

has the advantage of much smaller code size.” Id.

         82.    Another technological problem is that “[s]oftware implementation of finite fields

raises the question of how to arrange the storage of the bits corresponding to the finite field

elements.” Id. at 2:25–30. The patents teach that elliptic curve cryptosystems may employ finite

fields (whether binary fields or prime fields) with elements that may be represented as bits in




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hardware or software, where “[t]hese bits must then be represented in the memory storage of the

computer system.” See, e.g., id. The patents teach, however, that “[w]hen using a general purpose

computational engine (for example a typical CPU), finite field elements are often too long to be

represented in a single machine word of the engine (engine word lengths are typically 16, 32, or

64 bit).” See, e.g., id. And, “[s]ince the finite field [elements] used in ECC operations are typically

160 bits or more, these elements must be represented in several machine words.” Id. “Engine

routines (programs) that provide finite field calculations must therefore deal with multiple machine

words to complete their calculations.” Id. Moreover, “[w]ith either type of codes,” i.e., software

employing specific methods (which may be word size-specific) or general methods (which may

be word size non-specific), “it is necessary to provide finite field operations including

multiplication, addition, inversion, squaring and modular reduction.” Id. To compute the results

of such operations on ECC finite field elements and store them in computer memory, complicated

operations and “many bit shifts are required,” which “results in longer processing time and also

extra processor operation.” Id.

       83.     The inventors recognized that improvements in finite field operations, including for

ECC operations, may be achievable to improve the speed and efficiency of finite field engines.

Ex. 3 at 4:10–27; see id. at 1:66–3:30.

       84.     For example, the patents teach techniques that enable the performance of finite field

operations (e.g., addition, subtraction, multiplication) on elements of a finite field (e.g.,

coordinates of points on an elliptic curve) that include, among other things, representing each finite

field element as a predetermined number of machine words, performing a non-reducing wordsized

finite field operation on the representations and completing the operation for each word to obtain

an unreduced result, performing a specific modular reduction of the unreduced result to reduce it




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to that of a field element, and using the reduced result in a cryptographic operation. See, e.g., id.

at 6:30–7:18, 7:19–9:7, 9:8–12:12, 15:13–16:42. Using such techniques, technological benefits

are achievable. For example, “fast engines can be produced for many specific finite fields, without

duplicating the bulk of the engine instructions (program).” Id., Abstract, 4:22–27; see also, e.g.,

id. at 12:155–13:15, 15:12–21. Additionally, “finite field elements may be consistently stored in

registers of the same word length.” Id. at 8:46–60. Furthermore, fewer bit shifts are required,

thereby resulting in shorter processing time and fewer processor operations. Id. at 11:14–19,

11:34–40; see id. at 3:26–30.

       85.     The patents also teach techniques that enable the performance of finite field

operations (e.g., addition, subtraction, multiplication) on elements of a finite field (e.g.,

coordinates of points on an elliptic curve) that include, among other things, obtaining a first set of

instructions for performing the finite field operation on values representing the elements of the

finite field and executing it to generate an unreduced result, obtaining a second set of instructions

for performing a modular reduction for a specific finite field and executing it to generate a reduced

result, and providing the reduced result as an output for use in a cryptographic operation. See, e.g.,

id. at 6:30–7:18, 7:19–9:7, 9:8–12:12, 15:13–16:42. Using such techniques, technological benefits

are achievable. For example, “fast engines can be produced for many specific finite fields, without

duplicating the bulk of the engine instructions (program).” Id., Abstract, 4:22–27; see also, e.g.,

id. at 12:155–13:15, 15:12–21. Additionally, “finite field elements may be consistently stored in

registers of the same word length.” Id. at 8:46–60. Furthermore, fewer bit shifts are required,

thereby resulting in shorter processing time and fewer processor operations. Id. at 11:14–19,

11:34–40; see id. at 3:26–30.




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                       The “Ephemeral Key Generation” Patent (’961)

       86.     Plaintiffs incorporate by reference the preceding paragraphs of this Complaint.

       87.     The ’961 Patent, entitled “Method of Public Key Generation,” was duly and

lawfully issued on May 13, 2008. A true and correct copy of the ’961 Patent is attached hereto as

Exhibit 5. The application for the ’961 Patent was filed on December 26, 2001.

       88.     The ’961 Patent was in full force and effect since its issuance. Malikie owns by

assignment the entire right and title in and to the ’961 Patent, including the right to seek damages

for any infringement thereof.

       89.     The Ephemeral Key Generation Patent (the ’961 Patent) relates generally to key

generation within public key cryptosystems. See, e.g., Ex. 5 at 1:5–6.

       90.     The patent teaches that “[t]he basic structure of a public key cryptosystem is well

known and has become ubiquitous with security in data communication systems.” Id. at 1:10–16.

Public key cryptosystems “use a private key k and a corresponding public key αk where α is a

generator of the group.” Id.

       91.     A public key cryptosystem architecture can enable multiple security operations for

use with electronic data in digital systems and networks to be performed, including encryption,

key agreement, and authentication (e.g., digital signatures). Id. at 1:10–32. For example, a public

key cryptosystem architecture enables “one party [to] encrypt a message m with the intended

recipients public key and the recipient may apply his private key to decrypt it.” Id. Such

“cryptosystems may [also] be used for key agreement protocols where each party exponentiates

the other party’s public key with their own private key.” Id. For example, “party A will take B’s

public key αb and exponentiate it with A’s private key a to obtain a session key αab,” and “B will

take A’s public key αa and exponentiate it with B’s private key b to obtain the same session key




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αab,” after which “data may be transferred using a symmetric key protocol utilizing the common

session key.” Id. “Public key cryptosystems may also be used to sign messages to authenticate

the author and/or the contents,” for example, by enabling “the sender [to] sign a message using his

private key and a recipient [to] verify the message by applying the public key of the sender,” such

that “[i]f the received message and the recovered message correspond then the authenticity is

verified.” Id.

        92.      The patent teaches that the strength of security of public key cryptosystems is based

on “the intractability of the discrete log problem in finite field arithmetic.” Id. at 1:33–38. In other

words, “even when the generator α and public key is known, it is computationally infeasible to

obtain the corresponding private key,” which means that “[t]he security of such systems does

therefore depend on the private key remaining secret.” Id.

        93.      “To mitigate the opportunity of disclosing the private key,” the patent teaches that

“protocols have been developed that use a pair of private keys and corresponding public keys,

referred to as long term and short term or ephemeral key pairs respectively.” Id. at 1:38–51. In

such an architecture, “[t]he ephemeral private key is generated at the start of each session between

a pair of correspondents, usually by a random number generator. The corresponding, ephemeral

public key is generated and the resultant key pair used in one of the possible operations described

above,” such as encryption, key management, or authentication. Id. “The long-term public key is

utilized to authenticate the correspondent through an appropriate protocol,” but “[o]nce the session

is terminated, the ephemeral key is securely discarded and a new ephemeral key generated for a

new session.” Id.

        94.      Protocols for using digital signatures that enable the use of long term and short term

(or ephemeral) key pairs include the Digital Signature Algorithm (DSA) and Elliptic Curve Digital




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Signature Algorithm (ECDSA). Id. at 1:52–2:32. However, the inventors recognized that the

generation of ephemeral keys “may be done in such a way as to inadvertently introduce a bias in

to the selection of [ephemeral keys] k,” which “may be exploited to extract a value of the private

key d and thereafter render the security of the system vulnerable.” Id. at 2:32–61. For example,

the National Institute of Standards and Technology (NIST) FIPS 186-2 Digital Signature Standard

(DSS) “stipulates the manner in which an integer is to be selected for use as a private key,” whereby

“[a] seed value, SV, is generated from a random number generator which is then hashed by a SHA-

1 hash function to yield a bit string of predetermined length, typically 160 bits.” Id. “The bit

string represents an integer between 0 and 2160–1,” where “this integer could be greater than the

prime q and so the DSS requires the reduction of the integer mod q, i.e. k=SHA-1(seed) mod q,”

which can be expressed as: if SHA–1(seed) ≧ q then kSHA–1(seed)–q else kSHA–1(seed).

Id. The patent teaches that “[w]ith this algorithm it is to be expected that more values will lie in

the first interval than the second and therefore there is a potential bias in the selection of k.” Id.

       95.     Problematically, this creates a security weakness based on the technological

capabilities available to attackers, for example, by making it possible to guess the private key by

employing enough computer resources by testing a large amount of possible ephemeral keys (e.g.,

a brute force attack). The patent teaches that “the modular reduction to obtain [ephemeral keys] k

introduces sufficient bias in to the selection of k [such] that an examination of 222 signatures could

yield the private key d in 264 steps using 240 memory units.” Id.

       96.     The inventors recognized these technological problems and discovered

improvements in ephemeral key generation technology to address them. See Ex. 5 at 2:60–3:3;

see generally id. at 3:23–5:30.




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       97.        For example, the patent teaches techniques for generating a key k for use in a

cryptographic function performed over a group of order q that include, for example, generating a

seed value SV from a random number generator, performing a hash function H() on the seed value

SV to provide an output H(SV), determining whether the output H(SV) is less than the order q

prior to reducing mod q, accepting the output H(SV) for use as the key k if the value of the output

H(SV) is less than the order q, rejecting the output H(SV) as the key if the value is not less than

the order q, repeating the preceding steps if the output H(SV) is rejected, and providing the key k

for use in performing the cryptographic function if the output H(SV) is accepted, wherein the key

k is equal to the output H(SV). See, e.g., 3:23–4:17; see also 4:18–5:30. The patent teaches that

such inventions provide key generation techniques in which any bias is eliminated during the

selection of the key, id. at 3:1–3, which may, for example, be stored in secure memory and retrieved

from the secure memory for use in a cryptographic protocol, such as ECDSA, for performing

signatures, key exchange, or key transport operations in a public key cryptography architecture,

id. at 3:23–63.

                        The “Improved Modular Reduction” Patent (’286)

       98.        Plaintiffs incorporate by reference the preceding paragraphs of this Complaint.

       99.        The ’286 Patent, entitled “System and Method for Reducing the Computation and

Storage Requirements for a Montgomery-Style Reduction,” was duly and lawfully issued on

September 10, 2013. A true and correct copy of the ’286 Patent is attached hereto as Exhibit 6.

The application for the ’286 Patent was filed on July 19, 2010, and claims the benefit of priority

of Provisional App. No. 61/226,427, filed on July 17, 2009.




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        100.   The ’286 Patent has been and continues to be in full force and effect since its

issuance. Malikie owns by assignment the entire right and title in and to the ’268 Patent, including

the right to seek damages for any infringement thereof.

        101.   The Improved Modular Reduction Patent (the ’286 Patent) relates generally to

systems and methods for reducing the computation and storage requirements for a Montgomery

style reduction (a form of modular arithmetic). See, e.g., Ex. 6 at 1:13–16; see also id., Abstract.

        102.   The patent teaches that “[i]n cryptography, e.g. public key cryptography, operations

such as multiplication or exponentiation of integers in some group Zn, may be required, where

modular arithmetic is used to operate on the integers.” Ex. 6 at 1:20–30. “For example, to multiply

two numbers modulo some [number] n, the classical approach is to first perform the multiplication

and then calculate the remainder.”115 Id. The patent teaches that “[a]lthough the classical approach

is simple for basic operations such as in multi-precision calculations and does not require

precomputation, the step of calculating the remainder is considered slow.” Id. “The calculation

of the remainder is referred to as reduction in modular arithmetic.” Id.

        103.   The patent further teaches that “[i]n Montgomery reduction, calculations with

respect to a modulus n are carried out with the aid of an auxiliary number R called the Montgomery

radix or base.” Ex. 6 at 1:47–64. For example, “[t]he Montgomery reduction of a number a with

radix R and prime modulus n is the quantity given by aR-1 mod n.” Id.

        104.   “In a given cryptographic system,” the patent teaches, “a computational engine may

be used for calculating the Montgomery product of two numbers, this engine being sometimes



115
   The term “modulo” means to calculate the remainder after dividing one number by another.
See, e.g., https://www.mathsisfun.com/definitions/modulo-operation.html; see also
https://en.wikipedia.org/wiki/Modulo (“In computing and mathematics, the modulo operation
returns the remainder or signed remainder of a division, after one number is divided by another,
the latter being called the modulus of the operation.”


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referred to as a Montgomery engine or Montgomery machine.” Ex. 6 at 1:65–2:13. The patent

further teaches that “[t]he engine may be implemented in a hardware or software module and

operates on a set of parameters to produce a result.” Id. For example, using a Montgomery engine,

“Montgomery multiplication may proceed as follows:

       1.     c ← 0, where c will hold the result abR-1 mod n and c = (c𝑘 c𝑘−1 … c1 c0 ).

       2. For i from 0 to (k-1) do the following:
       2.1 m ← (c0 + a𝑖 , bo )μ mod 2𝑤 ; and
       2.2 c ← (c + a𝑖 b + mn)/2𝑤

       3.     If c ≧ n then c ← c − n

       4.     Return (c).”

Ex. 6 at 2:14–33.

       105.     “In Montgomery reduction, the value µ is used to zero w least significant bits of a

value a,” whereby “[f]irst, a multiplier m=µa mod 2w is computed,” where “[t]he value m has at

most w bits.” Ex. 6 at 2:47–53. “Adding a+mn will zero w least significant bits of a, and a may

be shifted down w bits.” Id. “Since typically L=kw, where k is the number of w-bit words in R[,]

this operation is repeated k times to effect the Montgomery reduction aR-1 mod n.” Id.

       106.     The patent teaches that “efficiency may be increased by pre-computing certain

fixed values to be used in the calculations,” where “[s]uch values include µ=(-n)-1 mod 2w, for

some w typically being the bit size of a word (or block) of the value (or perhaps the entire value)

being operated on; and R2 mod n.” Ex. 6 at 2:34–46.

       107.     The patent further teaches that “[i]n a register-based processor, registers are

typically used to hold components of the value to be reduced, namely the precomputed value µ

and the modulus n.” Ex. 6 at 2:59–61.




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        108.   The inventors recognized these technological problems and discovered

improvements in modular reduction engines for computers (e.g., Montgomery engines) to address

them. See, e.g., Ex. 6 at 3:21–45, 5:28–36, 3:40–45, 5:24–35, 5:45–6:19, 6:51–65.

        109.   For example, the patent teaches techniques for performing, on a cryptographic

apparatus, a Montgomery-style reduction in a cryptographic operation that includes obtaining an

operand for the cryptographic operation; computing a modified operand using a reduction value,

instead of a modulus used in performing a standard Montgomery reduction, to perform a

replacement of a least significant word of the operand, rather than per form a cancellation thereof,

where the reduction value is a function of the modulus; and outputting the modified operand. See,

e.g., Ex. 6 at 4:40–6:65. The patent teaches that such inventive techniques can reduce the number

of multiplications and registers needed to effect the modular reduction, thereby providing a new

and inventive technique for efficient modular reduction machines.116 See, e.g., id. at 3:40–42,

5:28–36, 6:2–19, 6:51–65. For example, the patent teaches that “[i]n a machine 22 that has a

limited number of registers and/or computational capabilities, it is desirable to reduce both the

number of stored values and the number of computations,” and that “[t]o avoid having to store

both µ and n, it has been recognized by the inventor that a modified reduction value or a logical

shift or signed version of such a value can be used in place of µ and n for the bulk of the low-order

reduction.” Id. at 5:28–36. The patent also teaches that the inventive technique “avoids both the

multiplication necessary to compute m and the storage required for µ” and that the modified

reduction value “does not require more registers than would be needed” otherwise. Id. at 6:2–19.




116
   A register is hardware in a CPU for temporary storage of data during program execution. See,
e.g., https://techterms.com/definition/register; https://www.allaboutcircuits.com/video-
lectures/internal-registers-alu/; https://gunkies.org/wiki/Register;
https://www.theiotacademy.co/blog/registers-in-cpu/.


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The patent further teaches that the inventors observed significant benefits of the inventive

techniques when used, for example, to perform ECC operations using resource-constrained

computer processor architectures (e.g., “the popular ARM architecture”). Id. at 6:51–65.

                                          *       *       *

       110.    Malikie made multiple attempts to contact MARA regarding Malikie’s patent

portfolio and to engage in licensing discussions. Malikie sent a first letter to MARA on March 28,

2025, which identified exemplary patents (including several of the Asserted Patents) and MARA

services that infringe them. Malikie conveyed its intent to offer a license to MARA and its desire

to begin patent licensing discussions. MARA did not respond. Malikie sent a second letter on

April 18, 2025, which identified additional patents (including the remaining Asserted Patents) and

infringing MARA services. Malikie reiterated its intent to offer MARA a license and its desire to

schedule a meeting to discuss the issue further. MARA did not respond to that letter either.

       111.    Given MARA’s refusal to respond to Malikie’s attempts to engage in licensing

discussions, Malikie believes it has no recourse but to file this action to seek just compensation for

MARA’s unauthorized use of Malikie’s patents.

                                 JURISDICTION AND VENUE

       112.    Plaintiffs incorporate by reference the preceding paragraphs of this Complaint.

       113.    This civil action arises under the patent laws of the United States, 35 U.S.C. § 1 et

seq., including without limitation 35 U.S.C. §§ 271, 281, 283, 284, and 285. This is a patent

infringement lawsuit over which this Court has subject matter jurisdiction under, inter alia, 28

U.S.C. §§ 1331, 1332, and 1338(a).

       114.    This District has general and specific personal jurisdiction over Defendant because,

directly or through intermediaries, Defendant has committed acts within this District giving rise to




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this action; is present in and transacts and conducts business, directly, and/or indirectly, in this

District and the State of Texas; and transacts and conducts business with residents of this District

and the State of Texas.

        115.    Plaintiffs’ causes of action arise, at least in part, from Defendant’s contacts with and

activities in and/or directed at this District and the State of Texas. For example, MARA owns

and/or operates bitcoin mining facilities in this Judicial District, including in McCamey, Texas

(Upton County) and Hearne, Texas (Robertson County).117 MARA also owns and/or operates

bitcoin mining facilities in Garden City, Texas; Granbury, Texas; and Hansford County, Texas.118

MARA has also purposefully availed itself of the laws of the State of Texas. For example, on

information and belief, MARA has located bitcoin mining facilities in Texas, which in part give

rise to this action, because MARA perceives the State of Texas as a “generally favorable regulatory

environments for bitcoin miners compared to other states.” MARA 2025 10-K at 12.

        116.    MARA is also a member of the Texas Blockchain Council, an “industry association

working to make the State of Texas the jurisdiction of choice for bitcoin, blockchain, and digital

asset innovation.”119 According to the Texas Blockchain Council, it “promote[s] blockchain

technology initiatives such as bitcoin mining that drive growth and benefit the citizens of Texas”

and “exist[s] to amalgamate the influence of our members, to advocate for blockchain-centric

public policy initiatives and to educate members of government about the benefits of blockchain




117
    See https://www.mara.com/operations; https://www.mara.com/posts/mara-announces-25-megawatt-
micro-data-center-project-powered-by-excess-natural-gas-from-oilfields; MARA 2025 10-K at 10-11.
118
    Id.; https://ir.mara.com/news-events/press-releases/detail/1389/mara-holdings-announces-closing-of-
texas-wind-farm-acquisition.
119
   https://texasblockchaincouncil.org/about; https://texasblockchaincouncil.org/membership
(identifying MARA as an Executive Partner)


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technology.”120 The Texas Blockchain Council works to influence the state of the law in Texas as

it relates to bitcoin, blockchain, and digital assets.121

        117.    Defendant has infringed the Asserted Patents within this District and the State of

Texas by making, using, selling, offering for sale, and/or importing or by having made, used, sold,

offered for sale, and/or imported in or into this District and elsewhere in the State of Texas,

products and services covered by claims in the Asserted Patents, including without limitation

products that, when made or used, practice the claimed methods of the Asserted Patents.

Defendant, directly and through intermediaries, has and continues to make, use, sell, offer for sale,

import, ship, distribute, advertise, promote, and/or otherwise commercialize such infringing

products and services in or into this District and the State of Texas. Defendant regularly conducts

and solicits business in, engages in other persistent courses of conduct in, and/or derives substantial

revenue from goods and services provided to residents of this District and the State of Texas.

        118.    This Court has personal jurisdiction over Defendants pursuant to TEX. CIV. PRAC.

& REM. CODE § 17.041 et seq.

        119.    Venue is proper in this District under 28 U.S.C. §§ 1391(b)-(c) and 1400(b).

        120.    Defendant is doing business, either directly or through respective agents, on an

ongoing basis in this Judicial District and elsewhere in the United States, and has committed and




120
   https://texasblockchaincouncil.org/.
121
   See, e.g., https://texasblockchaincouncil.org/policy-page (“The Texas Blockchain Council is a
proud member of the Texas Innovation and Technology Caucus. Our members are actively
working to provide subject matter expertise to this group of forward-thinking legislators with a
focus on the following policy initiatives.”); https://www.itcaucus.com/ (“Members of the Texas
House of Representatives and Texas Senate formed the bipartisan Innovation and Technology
Caucus of the Texas Legislature (IT Caucus) as a policy shop and industry partner to focus on
educating and informing members on ways to further advance technology industry innovation,
growth, and competitiveness here in Texas, and strengthening the already significant impact this
sector has on the state’s economy.”).


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continues to commit acts of infringement in this district. MARA Holdings, Inc. has regular and

established places of business in this Judicial District, including in McCamey, Texas (Upton

County) and Hearne, Texas (Robertson County), where MARA owns and/or operates bitcoin

mining facilities. On information and belief, Defendant has and continues to make, use, sell, offer

to sell, and/or import infringing products and services into and/or within this District, maintains a

permanent and/or continuing presence within this District, and has the requisite minimum contacts

with this District such that this venue is a fair and reasonable one. Upon information and belief,

Defendant has transacted and, at the time of the filing of the Complaint, is continuing to transact

business within this District.

                                         FIRST CLAIM

                                 (Infringement of the ’827 Patent)

       121.    Plaintiffs incorporate by reference the preceding paragraphs of this Complaint.

       122.    The ’827 Patent is generally directed to improved techniques for use in

cryptographic algorithms, and, in particular, to methods and apparatuses for generating a public

key of the signer of a digital signature by computing Q=r-1 (sR-eG), where G comprises a generator

of an elliptic curve group that includes a first elliptic curve point R and a second elliptic curve

point Q.

       123.    Defendant has been on notice of the ’827 Patent and a specific factual basis for its

infringement of the ’827 Patent since at least March 28, 2025. On information and belief,

Defendant did not take any action to stop its infringement.

       124.    Defendant has, under 35 U.S.C. § 271(a), directly infringed, and continues to

directly infringe, literally and/or under the doctrine of equivalents, one or more claims, including

without limitation at least claim 1 of the ’827 Patent, by making, using, testing, selling, offering




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for sale, and/or importing hardware and/or software including devices and software that comply

with the Bitcoin protocol (excluding any products licensed under the ’827 Patent), such as bitcoin

mining equipment (including, for example, hardware and software for digital asset mining,

including mining rigs, application-specific integrated circuits (ASICs), computers, nodes, miners,

and software applications) and wallets (including hardware and software that functions as a bitcoin

wallet). An exemplary claim chart showing one way in which MARA infringes claim 1 of the ’827

Patent is attached as Exhibit 7.

       125.    Defendant’s infringement has been willful in view of the above and its failure to

take any action, even after being put on notice, to stop its infringement.

                                          SECOND CLAIM

                                   (Infringement of the ’370 Patent)

       126.    Plaintiffs incorporate by reference the preceding paragraphs of this Complaint.

       127.    The ’370 Patent is generally directed to improved techniques for use in

cryptographic algorithms, and, in particular, to methods and apparatuses for verifying a digital

signature included with a message using a public key omitted from the message but recovered by

computing Q=r-1 (sR-eG), where G comprises a generator of an elliptic curve group that includes

the elliptic curve point R and the elliptic curve point Q, and wherein e is a hash value computed

from the electronic message M.

       128.    Defendant has been on notice of the ’370 Patent and a specific factual basis for its

infringement of the ’370 Patent since at least March 28, 2025. On information and belief,

Defendant did not take any action to stop its infringement.

       129.    Defendant has, under 35 U.S.C. § 271(a), directly infringed, and continues to

directly infringe, literally and/or under the doctrine of equivalents, one or more claims, including




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without limitation at least claim 1 of the ’370 Patent, by making, using, testing, selling, offering

for sale, and/or importing hardware and/or software including devices and software that comply

with the Bitcoin protocol (excluding any products licensed under the ’370 Patent), such as bitcoin

mining equipment (including, for example, hardware and software for digital asset mining,

including mining rigs, application-specific integrated circuits (ASICs), computers, nodes, miners,

and software applications) and wallets (including hardware and software that functions as a bitcoin

wallet). An exemplary claim chart concerning one way in which MARA infringes claim 1 of the

’370 Patent is attached as Exhibit 8.

       130.    Defendant’s infringement has been willful in view of the above and its failure to

take any action, even after being put on notice, to stop its infringement.

                                         THIRD CLAIM

                                (Infringement of the ’960 Patent)

       131.    Plaintiffs incorporate by reference the preceding paragraphs of this Complaint.

       132.    The ’960 Patent is generally directed to finite field engines and methods for use

with cryptographic systems, and, in particular, techniques that enable the performance of finite

field operations on elements of a finite that include, among other things, representing each finite

field element as a predetermined number of machine words, performing a non-reducing wordsized

finite field operation on the representations and completing the operation for each word to obtain

an unreduced result, performing a specific modular reduction of the unreduced result to reduce it

to that of a field element, and using the reduced result in a cryptographic operation.

       133.    Defendant has been on notice of the ’960 Patent and a specific factual basis for its

infringement of the ’960 Patent since at least March 28, 2025.




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       134.    Defendant has, under 35 U.S.C. § 271(a), directly infringed, literally and/or under

the doctrine of equivalents, one or more claims, including without limitation at least claim 3 of the

’960 Patent, by having made, used, tested, sold, offered for sale, and/or imported hardware and/or

software including devices and software that complied with the Bitcoin protocol (excluding any

products licensed under the ’960 Patent), such as bitcoin mining equipment (including, for

example, hardware and software for digital asset mining, including mining rigs, application-

specific integrated circuits (ASICs), computers, nodes, miners, and software applications) and

wallets (including hardware and software that functions as a bitcoin wallet). An exemplary claim

chart showing one way in which MARA infringed claim 3 of the ’960 Patent is attached as Exhibit

9.

                                        FOURTH CLAIM

                                (Infringement of the ’062 Patent)

       135.    Plaintiffs incorporate by reference the preceding paragraphs of this Complaint.

       136.    The ’062 Patent is generally directed to finite field engines and methods for use

with cryptographic systems, and, in particular, techniques that enable the performance of finite

field operations on elements of a finite field that include, among other things, obtaining a first set

of instructions for performing the finite field operation on values representing the elements of the

finite field and executing it to generate an unreduced result, obtaining a second set of instructions

for performing a modular reduction for a specific finite field and executing it to generate a reduced

result, and providing the reduced result as an output for use in a cryptographic operation.

       137.    Defendant has been on notice of the ’062 Patent and a specific factual basis for its

infringement of the ’062 Patent since at least March 28, 2025.




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        138.   Defendant has, under 35 U.S.C. § 271(a), directly infringed, literally and/or under

the doctrine of equivalents, one or more claims, including without limitation at least claim 3 of the

’960 Patent, by having made, used, tested, sold, offered for sale, and/or imported hardware and/or

software including devices and software that complied with the Bitcoin protocol (excluding any

products licensed under the ’062 Patent), such as bitcoin mining equipment (including, for

example, hardware and software for digital asset mining, including mining rigs, application-

specific integrated circuits (ASICs), computers, nodes, miners, and software applications) and

wallets (including hardware and software that functions as a bitcoin wallet). An exemplary claim

chart showing one way in which MARA infringed claim 1 of the ’062 Patent is attached as Exhibit

10.

                                         FIFTH CLAIM

                                (Infringement of the ’961 Patent)

        139.   Plaintiffs incorporate by reference the preceding paragraphs of this Complaint.

        140.   The ’961 Patent is generally directed to key generation within public key

cryptosystems, and, in particular, techniques for generating a key k for use in a cryptographic

function performed over a group of order q that include, for example, generating a seed value SV

from a random number generator, performing a hash function H() on the seed value SV to provide

an output H(SV), determining whether the output H(SV) is less than the order q prior to reducing

mod q, accepting the output H(SV) for use as the key k if the value of the output H(SV) is less

than the order q, rejecting the output H(SV) as the key if the value is not less than the order q,

repeating the preceding steps if the output H(SV) is rejected, and providing the key k for use in

performing the cryptographic function if the output H(SV) is accepted, wherein the key k is equal

to the output H(SV).




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        141.   Defendant has been on notice of the ’961 Patent and a specific factual basis for its

infringement of the ’961 Patent since at least April 18, 2025.

        142.   Defendant has, under 35 U.S.C. § 271(a), directly infringed, literally and/or under

the doctrine of equivalents, one or more claims, including without limitation at least claim 1 of the

’961 Patent, by having made, used, tested, sold, offered for sale, and/or imported hardware and/or

software including devices and software that complied with the Bitcoin protocol (excluding any

products licensed under the ’961 Patent), such as bitcoin mining equipment (including, for

example, hardware and software for digital asset mining, including mining rigs, application-

specific integrated circuits (ASICs), computers, nodes, miners, and software applications) and

wallets (including hardware and software that functions as a bitcoin wallet). An exemplary claim

chart showing one way in which MARA infringed claim 1 of the ’961 Patent is attached as Exhibit

11.

                                         SIXTH CLAIM

                                (Infringement of the ’286 Patent)

        143.   Plaintiffs incorporate by reference the preceding paragraphs of this Complaint.

        144.   The ’286 Patent is generally directed to systems and methods for reducing the

computation and storage requirements for a Montgomery style reduction and, in particular, to

techniques for performing, on a cryptographic apparatus, a Montgomery-style reduction in a

cryptographic operation that includes obtaining an operand for the cryptographic operation;

computing a modified operand using a reduction value, instead of a modulus used in performing a

standard Montgomery reduction, to perform a replacement of a least significant word of the

operand, rather than per form a cancellation thereof, where the reduction value is a function of the

modulus; and outputting the modified operand.




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       145.     Defendant has been on notice of the ’286 Patent since at least March 28, 2025, and

a specific factual basis for its infringement of the ’286 Patent since at least April 18, 2025. On

information and belief, Defendant did not take any action to stop its infringement.

       146.     Defendant has, under 35 U.S.C. § 271(a), directly infringed, and continues to

directly infringe, literally and/or under the doctrine of equivalents, one or more claims, including

without limitation at least claim 1 of the ’286 Patent, by making, using, testing, selling, offering

for sale, and/or importing hardware and/or software including devices and software that comply

with the Bitcoin protocol (excluding any products licensed under the ’286 Patent), such as bitcoin

mining equipment (including, for example, hardware and software for digital asset mining,

including mining rigs, application-specific integrated circuits (ASICs), computers, nodes, miners,

and software applications) and wallets (including hardware and software that functions as a bitcoin

wallet). An exemplary claim chart showing one way in which MARA infringes claim 1 of the ’286

Patent is attached as Exhibit 12.

       147.     Defendant’s infringement has been willful in view of the above and its failure to

take any action, even after being put on notice, to stop its infringement.

                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray for judgment against MARA as follows:

       148.     That MARA has infringed each of the Asserted Patents and will continue to infringe

the’827 Patent,’370 Patent, and ’286 Patent;

       A.       That MARA’s infringement of the’827 Patent,’370 Patent, and ’286 Patent have

been willful;




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        B.      That MARA pay Plaintiffs damages adequate to compensate for its past

infringement of each of the Asserted Patents, and present and future infringement of the’827

Patent,’370 Patent, and ’286 Patent, together with interest and costs under 35 U.S.C. § 284;

        C.      That MARA pay prejudgment and post-judgment interest on the damages assessed;

        D.      That MARA pay Plaintiffs enhanced damages pursuant to 35 U.S.C. § 284;

        E.      That MARA be ordered to pay ongoing royalties to Plaintiffs for any post-judgment

infringement of the’827 Patent,’370 Patent, and ’286 Patent;

        F.      That this is an exceptional case under 35 U.S.C. § 285; and that MARA pay

Plaintiffs’ attorneys’ fees and costs in this action; and

        G.      That Plaintiffs be awarded such other and further relief, including equitable relief,

as this Court deems just and proper.

                                   DEMAND FOR JURY TRIAL

        Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs hereby demands a trial by

jury on all issues triable to a jury.


                                              Respectfully submitted,

                                              /s/ Khue v. Hoang
                                              Khue V. Hoang
                                              Reichman Jorgensen Lehman & Feldberg LLP
                                              400 Madison Avenue, Suite 14D
                                              New York, NY 10017
                                              Tel: (212) 381-1965
                                              khoang@reichmanjorgensen.com

                                              Matthew G. Berkowitz
                                              Reichman Jorgensen Lehman & Feldberg LLP
                                              100 Marine Parkway, Suite 300
                                              Redwood Shores, CA 94065
                                              Tel: (650) 623-1401
                                              mberkowitz@reichmanjorgensen.com




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                             Philip J. Eklem
                             Reichman Jorgensen Lehman & Feldberg LLP
                             1909 K Street, NW, Suite 800
                             Washington, DC 20006
                             Tel: (202) 894-7310
                             peklem@reichmanjorgensen.com

                             Of Counsel:

                             Mark D. Siegmund, TX Bar No. 24117055
                             Cherry Johnson Siegmund James, PC
                             7901 Fish Pond Rd., 2nd Floor
                             Waco, TX 76710
                             Telephone: (254) 732-2242
                             Facsimile: (866) 627-3509
                             Email: msiegmund@cjsjlaw.com

                             Attorneys for Plaintiffs Malikie Innovations Ltd. and
                             Key Patent Innovations Ltd.




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